                                      CASE 0:22-cr-00038-PJS-JFD Doc. 7 Filed 01/24/22 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )             COURTROOM MINUTES - CRIMINAL
                                                            )                BEFORE: HILDY BOWBEER
                                         Plaintiff,         )                   U.S. Magistrate Judge
                                                            )
   v.                                                       )     Case No:               22-mj-90 HB
                                                            )     Date:                  January 24, 2022
Albert Walter Bratton, III,                                 )     Video Conference
                                                            )     Time Commenced:        1:17 p.m.
                                         Defendant,         )     Time Concluded:        1:28 p.m.
                                                                  Time in Court:         11 minutes



APPEARANCES:

   Plaintiff: Amber Brennan, Assistant U.S. Attorney
   Defendant: Doug Micko, Assistant Federal Public Defender
                        X FPD           X To be appointed

   Date Charges Filed: 1/21/2022                           Offense: possession with intent to distribute cocaine; carrying a
                                                                                firearm during a drug trafficking crime

   X Advised of Rights

on        X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is January 26, 2022 at 2:00 p.m. via video conference before U.S. Magistrate Judge Hildy
Bowbeer for:
 X Detention hrg        X Preliminary hrg

X Government moves to unseal the case.                     X Granted


Additional Information:
X Oral Rule5(f) Brady notice read on the record
X Defendant consents to this hearing via video conference.
                                                                                                      s/SAE
                                                                                                    Signature of Courtroom Deputy




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